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                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

     In re:

     HULL ORGANIZATION, LLC                                          Case No. 23-32983-acs

                            Debtors1                                 Chapter 11
                                                                     (Jointly Administered)


      MOTION TO (I) LIMIT NOTICE AND SHORTEN OBJECTION PERIOD, AND
      (II) APPROVE SETTLEMENT WITH REQUEST FOR EXPEDITED HEARING


              Hull Organization, LLC (“Hull Org”), Hull Equity, LLC (“Hull Equity,”), Hull

 Properties, LLC (“Hull Properties”), and 4 West, LLC (“4 West,” and collectively with Hull

 Org, Hull Equity, and Hull Properties, the “Debtors”), by counsel, request that the Court

 enter one or more orders (i) limiting notice and shortening the objection period with respect

 to the relief requested in this Motion, and (ii) approving the Debtors’ settlement detailed

 herein. Debtors further request that the Court conduct an expedited hearing on this Motion.

 In support of this Motion, Debtors state as follows:

                                         Jurisdiction and Venue

              1.    The Court has jurisdiction over this Motion under 28 U.S.C. § 1334. Venue of

 these cases and this Motion is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

 This is a core proceeding under 28 U.S.C. § 157(b)(2).

              2.    The statutory predicates for the relief requested in this Motion are 11 U.S.C. §§

 105, 1107, 1108, and 1184, and Fed. R. Bankr. P. 2002 and 9019.



 1
  The Debtors in these jointly administered bankruptcy cases and their respective case numbers are as follows:
 Hull Organization, LLC (23-32983-acs); Hull Equity, LLC (23-32984); Hull Properties, LLC (23-32985); and 4
 West, LLC (23-32987). The Debtors’ headquarters are located at 1902 Campus Place, Suite 9, Louisville,
 Kentucky 40299.
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                                          Background

        3.     On December 13, 2023 (the “Petition Date”), each of the Debtors filed its

 voluntary petition for relief under chapter 11 of title 11 of the United States Code (the

 “Bankruptcy Code”). The Court has entered an Order for Joint Administration of these

 chapter 11 cases.

        4.     Debtors Hull Org and Hull Equity are each Debtor a “small business debtor”

 as defined in Bankruptcy Code § 101(51D) and have elected to proceed under subchapter V

 of chapter 11 of the Bankruptcy Code. Pursuant to Bankruptcy Code § 1184, Hull Org and

 Hull Equity continue to operate their respective businesses and manage their respective

 properties as debtors in possession. Michael Wheatley has been appointed as the Subchapter

 V Trustee in both cases.

        5.     Pursuant to Bankruptcy Code §§ 1107 and 1108, Debtors Hull Properties and

 4 West continue to operate their respective businesses and manage their respective properties

 as debtors in possession. No official committee of unsecured creditors has been appointed in

 the chapter 11 cases, and no party has requested the appointment of a trustee.

        6.     The Debtors are primarily owners and operators of commercial real estate

 properties, though Hull Org maintains a modest portfolio of residential units. The Debtors

 have acquired most of their properties through distressed sales, and typically invest resources

 to rehabilitate the properties for commercial leasing or sale.

   i.   Pre-Petition Disputes

        7.     On March 21, 2023, the Jefferson Family Court entered an Order (the

 “Dissolution Order”) in the marital dissolution action styled Nancy Pruitt Hull v. Robert Ernest

 Hull (Case No. 20-CI-500489).
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        8.     Within the Dissolution Order, the Jefferson Family Court ordered a division of

 the marital assets of Nancy Pruitt Hull and the Debtors’ sole member, Robert Ernest Hull.

 The Dissolution Order concluded, in part, that:

                      “The remaining businesses and assets are all deemed to
                      be marital in nature. As such, Petitioner, Nancy Pruitt
                      Hull, is entitled to her share of equity in the same, or
                      $7,889,642.58. Respondent, Robert Ernest Hull, may buy
                      out Petitioner’s share of equity in the commercial
                      property within thirty (30) days.”

 Dissolution Order, at 7-8.

        9.     Mr. Hull has appealed the Dissolution Order to the Kentucky Court of Appeals,

 where it remains pending as Case No. 2023-CA-0969.

        10.    On October 18, 2023, the Jefferson Family Court entered an order in the

 Divorce Action appointing Cullen B. Bilyeu “as receiver of all business entities under [Mr.

 Hull’s] control and to oversee the management and distribution of profits of such.”

        11.    On November 22, 2023, the Jefferson Family Court entered an order in the

 Divorce Action (the “Receivership Order”) which reiterated Mr. Bilyeu’s installation as

 receiver and imbued the receiver with specific powers and duties. Within the itemization of

 Mr. Bilyeu’s duties as receiver, Judge Webb directed that:

                      “Receiver shall…not be liable or accountable for any expense or
                      indebtedness incurred by the Properties and LLCs, its members,
                      managers, agents or employees, prior to the entry of this Order,
                      or which may have occurred at the direction of the LLCs, its
                      agents or employees, after the entry of this Order, but may pay
                      the same if the Property is benefited by such payment.”

                      [and]

                      “Receiver shall… allocate on a monthly basis such amounts as
                      the Court may direct to be paid to [Mrs. Hull] for maintenance
                      and child support.”

 Receivership Order at ¶5(h) and ¶5(p) (emphasis added).
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        12.    Notwithstanding entry of the Dissolution Order and Receivership Order and

 pendency of Mr. Hull’s appeal, Mrs. Hull and Mr. Hull have continued motion practice in

 the Jefferson Family Court concerning matters of property division, family support, and

 collection of the judgment awarded in the Dissolution Order.

  ii.   Contested Matters

        13.    On January 8, 2024, Mrs. Hull filed her Motion to Dismiss [Doc. 28] (the

 “Motion to Dismiss”) these chapter 11 cases.

        14.    On January 9, 2024, Mrs. Hull filed her Objection to Joint Motion to Sell 830 & 834

 Ohio Pike, Cincinnati, Clermont County, Ohio Free and Clear of Liens [Doc. 31] (the “Sale

 Objection”) in this jointly administered bankruptcy case.

        15.    Within the Motion to Dismiss and Sale Objection, Mrs. Hull asserted interests

 in Debtors’ real properties and their proceeds by virtue of the Dissolution Order.

        16.    Prior to the settlement sought to be approved herein, the Court had set an

 evidentiary hearing to consider the Motion to Dismiss and reserved ruling on the Sale

 Objection in its Order Granting Joint Motion to Sell [Doc. 56] by directing Trustee Michael

 Wheatley to hold remaining proceeds from the sale of Hull Org’s real property pending further

 order. See Order Granting Joint Motion to Sell at ¶ 29(I).

        17.    Additionally, Mrs. Hull’s Motion for 2004 Examination of Robert Hull [Doc. 57]

 and her objection to Debtors’ Nunc Pro Tunc Application to Employ Coldwell Banker Heritage as

 Broker [Doc. 64] remain as contested matters pending before the Court.

        18.    Since the Petition Date, the parties to the litigation and contested matters

 described herein, through their respective counsel, have engaged in extensive negotiations to

 resolve the sprawling dispute which has impacted nearly every aspect of the individuals’ and
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 business’ existence. On February 27, 2024, the Debtors, Mr. Hull, and Mrs. Hull attended

 mediation conducted by Hon. U.S. Bankruptcy Judge Charles Merrill to attempt to reach a

 global settlement. While the mediation did not end with a final settlement agreement, the

 parties emerged with a framework for their mutual agreement which has finally been reached

 through the parties’ diligent negotiations.

        19.    The compromises and settlement that the Debtors have agreed to, subject to

 the Court’s approval, are reflected in the Settlement Agreement among Nancy Pruitt Hull;

 Robert Ernest Hull; Debtors; GV, LLC (“GV”); Extreme Exotics Leasing, LLC (“EEL”); and

 Applegate Manor, LLC (“Applegate,” and collectively with GV and EEL, the “Non-Debtor

 Hull Entities”) attached hereto as Exhibit A (the “Settlement Agreement”).

                                        Relief Requested

        20.    The Debtors request entry of an order under Fed. R. Bankr. P. 2002(a)(3)

 modifying the notice requirements thereunder. In lieu of 21 days’ notice being given by mail

 to the Debtors, the trustee, all creditors and indenture trustees, the Debtors submit that notice

 of this Motion by electronic mail or facsimile to the entities identified in the mailing matrix

 maintained in these jointly administered cases should be deemed adequate under the

 circumstances of this case. Notice of this Motion by electronic mail or facsimile to the entities

 identified in the mailing matrix is more efficient than 21 days’ notice via mail, and can provide

 sufficient opportunity for parties to be heard to the extent that any party elects to be heard on

 the substance of this Motion.

        21.    The compromises contained in the subject settlement agreement involve

 transfers of property and releases among the Debtors and non-debtor entities who are parties

 to the agreement. The Debtors submit that a 7-day notice period for objections to approval of
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 the settlement would be adequate and appropriate under the circumstances and in full

 compliance with the applicable provisions of the Bankruptcy Code and Bankruptcy Rules.

        22.     Debtors also request entry of an order under Fed. R. Bankr. P. 9019 approving

 the settlement reflected in the Settlement Agreement.

        23.     Fed. R. Bankr. P. 9019 provides that “[o]n motion by the trustee and after

 notice and a hearing, the court may approve a compromise or settlement.” Fed. R. Bankr. P.

 9019. In reviewing any proposed settlement under Fed. R. Bankr. P. 9019, courts will approve

 the settlement if it is “fair and equitable” and in the best interests of the bankruptcy estate.

 Protective Comm. for Independent Stockholders of TMT Trailer Ferrry, Inc. v. Anderson, 390 U.S.

 414, 424 (1968). Compromises are favored in bankruptcy to minimize the cost of litigation to

 the estate and expedite its administration. In re McInerney, 528 B.R. 684, 687 (E.D. Mich.

 2014). Bankruptcy courts have broad discretion to approve or reject a proposed settlement. In

 re Levine, 287 B.R. 683, 689 (E.D. Mich. 2002) (citations omitted).

        24.     Here, the settlement reflected in the Settlement Agreement is fair and equitable

 because: (i) it resolves several contested matters without further litigation; and (ii) it provides

 value to the Debtors’ estates through the release of disputed interests in Debtors’ properties.

 Debtors’ compromise of their various disputes with Mrs. Hull is well within the range of

 reasonableness. See e.g., Nellis v. Shgrue, 165 B.R. 115, 123 (S.D.N.Y. 1994) (the question is

 not whether a better result is possible, but whether the settlement is within the range of

 reasonableness). Accordingly, the Court should enter an order approving Debtors’ settlement

 and authorizing Debtors to take all actions and execute all instruments as necessary to

 implement the Settlement Agreement.
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        25.    Implementation of the parties’ settlement will involve transfers and releases by

 the Debtors and the non-debtor settling parties. In addition to the mutual releases customary

 to a global settlement agreement, the Debtors’ transfers or obligations to be executed

 contingent upon the Court’s approval requested herein are as follows:

                Debtor                Obligation

                Hull Properties       Campus Place Condos to be sold; Mrs. Hull to receive
                                      net sale proceeds following satisfaction of allowed claims

                Hull Org              Split Ohio Pike Proceeds 50-50 with Mrs. Hull

                4 West                Guaranty of DSO Note; pledge security interest in 1993
                                      TK C&C Boom truck

                Hull Org              Guaranty of DSO Note; pledge mortgage interest in 3918
                                      South Brook Street

        26.    Although the Settlement Agreement requires that the Debtors transfer and

 pledge valuable property interests to Mrs. Hull which might otherwise be available for

 distribution among other creditors, Debtors submit that the compromise and favorable

 resolution of the Motion to Dismiss is an adequate exchange for the benefit of the creditors

 of these estates. Continued litigation of the Motion to Dismiss and related contested matters

 would have increased the estates’ administrative expenses and exposed creditors to the risks

 of recovering on their claims through intervention in the Jefferson Family Court action where

 the Receivership Order signaled that Mrs. Hull’s interests were likely to be favored over the

 creditors of the Debtor companies.

        WHEREFORE, Debtors respectfully request that the Court enter orders (1) modifying

 the notice requirements for the relief requested herein, (2) approving the Debtors’ settlement,

 and (3) granting such other and further relief as the Court deems just and proper.
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                                                 Respectfully submitted,


                                                 /s/ Tyler R. Yeager
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                                     Certificate of Service

        I certify that on April 8, 2024, a true and correct copy of the foregoing Motion to (i)
 Limit Notice, and (ii) Approve Settlement with Request for Expedited Hearing was filed and served
 through the Bankruptcy Court’s CM/ECF system to all parties who have requested notice in
 the above-captioned case. If the Notice of Electronic Filing from the Bankruptcy Court’s
 CM/ECF system indicates that there are interested parties not deemed to have consented to
 electronic notice or service, a copy of this document will be mailed to such parties via first-
 class U.S. Mail to the addresses as listed therein.


                                                 /s/ Tyler R. Yeager
                                                 CHARITY S. BIRD
                                                 TYLER R. YEAGER
